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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF CONNECTICUT

    FAIRFIELD UNIVERSITY,          :                                      CIVIL ACTION NO.
                                   :
               Plaintiff,          :                                     3:20cv-01369-JCH
                                   :
    v.                             :
                                   :
    VIGILANT INSURANCE COMPANY AND :
    FEDERAL INSURANCE COMPANY,     :
                                   :
                Defendants.        :                                      September 9, 2021


        OPPOSITION OF DEFENDANTS FEDERAL INSURANCE COMPANY AND
     VIGILANT INSURANCE COMPANY TO PLAINTIFF FAIRFIELD UNIVERSITY’S
                 MOTION FOR PARTIAL SUMMARY JUDGMENT

         Defendants Federal Insurance Company (“Federal”) and Vigilant Insurance Company

(“Vigilant”) (collectively, “Chubb” or “Defendants”) hereby oppose plaintiff Fairfield

University’s (“Fairfield”) Motion for Partial Summary Judgment, and submit contemporaneously

herewith Defendants’ Local Rule 56(a)(2) Statement of Facts.

I.       INTRODUCTION

         Federal issued a series of primary domestic commercial general liability policies to

Fairfield, with separate, annual policy periods from July 1, 1997 to July 1, 2009, and a series of

commercial excess and umbrella liability policies to Fairfield, with separate, annual policy

periods from July 1, 1997 to July 1, 2008.1 Each of the excess liability policies issued to

Fairfield by Federal for the policy periods from July 1, 2004 to July 1, 2008 (the “2004-2008




1
 Federal did not issue any excess or umbrella liability policy to Fairfield for the period from July 1, 2008 to July 1,
2009.

ORAL ARGUMENT REQUESTED


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Excess Policies”) contained a Sexual Abuse or Molestation Exclusion,2 which applies to

preclude coverage for the underlying sexual abuse claims or suits alleging injury during those

policy periods. Vigilant issued a series of primary international commercial general liability

policies to Fairfield, with separate, annual policy periods from September 1, 2003 to July 1,

2009.3 (Collectively, all of the policies issued by Federal and Vigilant to Fairfield will be

referred to as the “Chubb Policies.”)4

           By its Motion for Partial Summary Judgment, Fairfield attempts to avoid the impact of

the Sexual Abuse or Molestation Exclusions contained in the 2004-2008 Excess Policies by

relying on the Non Accumulation of Limits Endorsements on the domestic and international

primary policies issued to Fairfield by Federal and Vigilant (the “Non Accumulation of Limits

Endorsements”), respectively, covering the July 1, 2004 to July 1, 2009 policy periods. The Non

Accumulation of Limits Endorsements state in virtually identical form:

           This policy is one of several policies issued by us or other member insurers of
           the Chubb Group of Insurance Companies to you, and/or your subsidiary
           companies. It is agreed that any claim or suit which could be covered under two
           or more of these policies will be covered under only the policy with the highest
           limit of insurance available or, if the limits are the same, under only one of the
           policies. Regardless of the number of claims or suits, the number of policies, or
           the number of additional insureds which would be involved, the combined total
           annual aggregate limits of liability under all such policies to which this
           endorsement is attached will not exceed the aggregates stated below for any one
           policy year:

           $2,000,000        General Aggregate Limit
                             Products-Completed Operations Aggregate Limit

2
  Each of the Federal excess policies in effect from July 1, 2004 to July 1, 2007 contained a “Sexual Abuse or
Molestation Exclusion.” Each of the Federal excess policies in effect from July 1, 2007 to July 1, 2008 contained an
“Abuse or Molestation – Total Exclusion.” Each exclusion operates to bar coverage under the respective policy for
the underlying sexual abuse claims and suits. These exclusions will be referred to collectively herein as the “Sexual
Abuse or Molestation Exclusions.”
3
 The first of the primary international policies issued by Vigilant to Fairfield was for a partial year: September 1,
2003 to July 1, 2004.
4
    The pertinent sections of the Chubb Policies are attached as Exs. 1.A-1.L, 2.A.-2.F., and 3.A.-3.K.

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                        Advertising Injury and Personal Injury Aggregate Limit

        All other terms and conditions remain unchanged.

See e.g., Exs. 1.H.; 1.I.; 1.J.; 1.K.; 1.L; 2.B.; 2.C.; 2.D.; 2.E.; and 2.F. (bold type in

original, underscored, italicized bold type added).

        Fairfield advances the unsupported, and insupportable, contention that the Non

Accumulation of Limits Endorsements operate to expand the scope of coverage under the excess

liability policy issued by Federal to Fairfield for the policy period from July 1, 1999 to July 1,

2000 (the “1999-2000 Excess Policy”), by shifting coverage for “claims” and “suits” alleging

injuries that took place after that policy had expired, and during the periods of the 2004-2008

Excess Policies when the Sexual Abuse or Molestation Exclusions were in effect, to the single

policy period of the 1999-2000 Excess Policy. Fairfield’s argument fails for multiple reasons.

        First, it is an express condition of the Non Accumulation of Limits Endorsements on the

Chubb Policies that the “claim or suit” “be covered under two or more of [the Chubb] policies.”

See e.g., Exs. 1.H.; 1.I.; 1.J.; 1.K.; 1.L; 2.B.; 2.C.; 2.D.; 2.E.; and 2.F. (emphasis added). Each of

the Chubb Policies is an occurrence-based policy with an annual policy period, and covers only

those damages that the insured becomes legally obligated to pay for “bodily injury” “that occurs

during the policy period.” See e.g., Exs. 1.A.; 1.B.; 1.C.; 1.D.; 1.E.; 1.F.; 1.G.; 1.H.; 1.I.; 1.J.;

1.K.; 1.L.; 2.A.; 2.B.; 2.C.; 2.D.; 2.E.; and 2.F. The Non Accumulation of Limits Endorsements

on the Chubb Policies do not change this, as they refer to “annual” limits of liability “for any one

policy year” and also specifically state, “All other terms and conditions [of the Chubb Policies]

remain unchanged.” See e.g., Exs. 1.H.; 1.I.; 1.J.; 1.K.; 1.L; 2.B.; 2.C.; 2.D.; 2.E.; and 2.F.

Rather, the Non Accumulation of Limits Endorsements operate to prevent the stacking of limits

when there are two or more Chubb Policies that cover the same policy period and hence the same



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damages for bodily injury that occur in that policy period. As such, two or more Chubb Policies

“cover” the same “claim or suit” only if they were in effect during the same policy period and,

therefore, “cover” the same damages for bodily injury occurring in that policy period and alleged

in that “claim or suit.” The Non Accumulation of Limits Endorsements do not permit Fairfield

to reach outside of the 2004-2008 Excess Policies, and shift coverage for injuries which occurred

during the periods of those policies to the earlier 1999-2000 Excess Policy.

        Second, Fairfield’s argument also rests on the fundamentally incorrect premise that the

underlying sexual abuse claims and suits are “long-tail claims” – such as asbestos bodily injury

claims or environmental contamination claims. However, “long-tail claims” involve progressive

injuries that by their very nature are fraught with difficulties in determining the dates of injuries.

In contrast, in applying occurrence-based policies like the Chubb Policies to sexual abuse claims,

courts have treated sexual abuse claims not as “long-tail claims,” but rather as being covered

only under the policy period or periods in which the abuse claimant suffered actual molestation.

Despite building its entire argument around the application of “long-tail claims” coverage

principles, Fairfield does not cite a single case that has considered sex abuse claims to be “long-

tail claims.”

        Third, apparently recognizing that its argument fails when each of the 169 underlying

sexual abuse “claims” or “suits” is evaluated individually for coverage under the Chubb Policies,

Fairfield advances the absurd proposition that all 169 claims and lawsuits constitute a single

“suit.” However, comprising the 169 claims and suits are the Complaints of fifty-one (51)

plaintiffs who sued Fairfield and other defendants in fifty-one (51) separate lawsuits in this Court

(the “PPT II Lawsuits”), the claims of another eighty-three (83) alleged victims represented by,

and whose identities were disclosed by, the plaintiffs’ counsel during the pendency of the PPT II



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Lawsuits (the “Represented Claims”), and those of thirty-five (35) other alleged victims who

submitted claims after a settlement was reached (the “Unrepresented Claims”). Each of the PPT

II Lawsuits constituted a separate “suit,” and each of the Represented Claims and the

Unrepresented Claims constituted a separate “claim,” under the Chubb Policies, and each of the

PPT plaintiffs and claimants alleged discrete bodily injuries caused by discrete acts of

molestation or abuse in different policy years.

         Fourth, even if the 169 underlying claims and suits were somehow a single “suit” under

the Chubb Policies, which they are not, it would not change the coverage result, as the Non

Accumulation of Limits Endorsements do not shift coverage for damages for bodily injury from

discrete acts of molestation or abuse across policy years to a single policy year prior to the

Sexual Abuse or Molestation Exclusions’ effective dates.

II.      MATERIAL FACTS

         A.       The PPT II Lawsuits

         This action concerns a dispute between Fairfield and Chubb regarding coverage for

underlying claims and suits – comprising the 51 PPT II Lawsuits filed in this Court,5 the eighty-

three (83) Represented Claims, and the thirty-five (35) Unrepresented Claims – alleging that

several defendants, including Fairfield, were liable for, inter alia, negligent supervision and




5
  The filings in the PPT II Lawsuits are a matter of public record of which the Court must take judicial notice. See
Fed. R. Evid. 201(b), (c) (if a party requests it and the court is supplied with the necessary information, the Court
must take judicial notice of facts outside the trial record that are “not subject to reasonable dispute.” Such facts must
either be “(1) generally known within the trial court’s territorial jurisdiction; or (2) [capable of being] accurately and
readily determined from sources whose accuracy cannot reasonably be questioned.”); see also Internat’l Star Class
Yacht Racing Ass’n v. Tommy Hilfiger U.S.A., Inc., 146 F.3d 66, 70 (2d Cir. 1998) (under Fed. R. Evid. 201(b), “[a]
court may take judicial notice of a document filed in another court . . . to establish the fact of such litigation and
related filings.”); Ives Lab., Inc. v. Darby Drug Co., 638 F.2d 538, 544 n. 8 (2d Cir. 1981), rev’d on other grounds,
Inwood Lab., Inc. v. Ives Lab., Inc., 456 U.S. 844 (1982) (taking judicial notice of several indictments to establish
that such indictments had in fact been returned). The necessary information for the Court to access the PPT II
Lawsuits and the filings therein is provided below.


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breach of fiduciary duty related to the alleged sexual abuse of more than a hundred boys on

various dates over a ten-year period from 1998 to 2008 at Project Pierre Toussaint (“PPT”), a

residential school in Haiti that Fairfield helped to found, support and oversee.

       On January 6, 2014, the Court ordered twenty-nine (29) of the PPT II Lawsuits

consolidated “for pre-trial purposes,” under the lead case, Gervil St. Louis v. Perlitz et al., (“St.

Louis”) Civil Action No.: 3:13-cv-01132-RNC, the first of the PPT II Lawsuits which had been

filed on August 8, 2013. See Order dated January 6, 2014 (per Chatigny, U.S.D.J.), USDC

Docket, St. Louis.6 Subsequently, the remaining lawsuits comprising the PPT II Lawsuits were

consolidated7 for pretrial purposes with the lawsuits previously consolidated for pretrial


6
  The twenty-nine (29) PPT II Lawsuits initially consolidated under the St. Louis lawsuit comprised the following:
(1) Jean v. Perlitz et al, C.A. No.: 3:13-cv-01225-RNC; (2) Pierre v. Perlitz et al, C.A. No.: 3:13-cv-01269-RNC;
(3) Jerome v. Perlitz et al, C.A. No.: 3:13-cv-01437-RNC; (4) Bernardin v. Perlitz et al, C.A. No.: 3:13-cv-01480-
RNC; (5) Joseph v. Perlitz et al, C.A. No.: 3:13-cv-01626-RNC; (6) Alibert v. Perltz et al, C.A. No.: 3:13-cv-01627-
RNC; (7) Faustin v. Perlitz et al, C.A. No.: 3:13-cv-01628-RNC; (8) Joseph v. Perlitz et al, C.A. No.: 3:13-cv-
01629-RNC; (9) Jean v. Perlitz et al, C.A. No.: 3:13-cv-01630-RNC; (10) Fleuridor v. Perlitz et al, C.A. No.: 3:13-
cv-01631-RNC; (11) Jean v. Perlitz et al, C.A. No.: 3:13-cv-01632-RNC; (12) Lecenat v. Perlitz et al, C.A. No.:
3:13-cv-01633-RNC; (13) Guillaume v. Perlitz et al, C.A. No.: 3:13-cv-01634-RNC; (14) Joseph v. Perlitz et al,
C.A. No.: 3:13-cv-01635-RNC; (15) Emile v. Perlitz et al, C.A. No.: 3:13-cv-01636-RNC; (16) Audate v. Perlitz et
al, C.A. No.: 3:13-cv-01637-RNC; (17) Fils-Aime v. Perlitz et al, C.A. No.: 3:13-cv-01638-RNC; (18) Odilbert v.
Perlitz et al, C.A. No.: 3:13-cv-01639-RNC; (19) Albert v. Perlitz et al, C.A. No.: 3:13-cv-01640-RNC; (20) Jean-
Pierre v. Perlitz et al, C.A. No.: 3:13-cv- 1641-RNC; (21) Lecenat v. Perlitz et al, C.A. No.: 3:13-cv- 1642-RNC;
(22) Previl v. Perlitz et al, C.A. No.: 3:13-cv-01644-RNC; (23) Benjamin v. Perlitz et al, C.A. No.: 3:13-cv-01645-
RNC; (24) Bernard v. Perlitz et al, C.A. No.: 3:13-cv-01647-RNC; (25) Pierre v. Perlitz et al, C.A. No.: 3:13-cv-
01648-RNC; (26) Dorcine v. Perlitz et al, C.A. No.: 3:13-cv-01701-RNC; (27) Calixte v. Perlitz et al, C.A. No.:
3:13-cv-01767-RNC; (28) Pierre v. Perlitz et al, C.A. No.: 3:13-cv-01768-RNC; and (29) Bien-Aimé v. Perlitz et al,
C.A. No.: 3:13-cv- 01769-RNC.
7
   Five (5) of the PPT II Lawsuits were consolidated by an Order dated March 28, 2014, namely: (1) Baptiste v.
Perlitz et al, C.A. No.:3:13-cv-01881-RNC; (2) Clervil v. Perlitz et al, .A. No.:3:13-cv-01904-RNC; (3) Saint Cirin
v. Perlitz et al, .A. No.:3:13-cv-01906-RNC; (4) Derice v. Perlitz et al, .A. No.:3:13-cv-01907-RNC; and (5)
Mackenson v. Perlitz et al, C.A. No.:3:13-cv-00125-RNC. See USDC Docket, St. Louis. Another three (3) of the
PPT II Lawsuits were consolidated by an Order dated June 26, 2014, namely: (1) St. Louis v. Perlitz et al, C.A.
No.:3:13-cv-01132-RNC; (2) Deriza v. Perlitz et al, .A. No.:3:13-cv-00668-RNC; and (3) Cameus v. Perlitz et al,
C.A. No.:3:13-cv-00815-RNC. Id. An additional eighteen (18) of the PPT II Lawsuits were consolidated by an
Order dated March 27, 2018, namely: (1) Francois v. Perlitz et al, C.A. No.: 3:14-cv-01436-RNC; (2) Michel v.
Perlitz et al, C.A. No.: 3:14-cv-01530-RNC; (3) Alcinord v. Perlitz et al, C.A. No.: 3:14-cv-01569-RNC; (4)
Robenson v. Perlitz et al, C.A. No.: 3:14-cv-01570-RNC; (5) Estacin v. Perlitz et al, C.A. No.: 3:14-cv-01615-RNC;
(6) Compere v. Perlitz et al, C.A. No.: 3:14-cv-01962-RNC; (7) Edmond v. Perlitz et al, C.A. No.: 3:14-cv-01964-
RNC; (8) Francois v. Perlitz et al, C.A. No.: 3:14-cv-01967-RNC; (9) Telmir v. Perlitz et al, C.A. No.: 3:14-cv-
01969-RNC; (10) Pierre v. Perlitz et al, C.A. No.: 3:14-cv-01979-RNC; (11) Alcy v. Perlitz et al, C.A. No.: 3:14-cv-
01526-RNC; (12) Pierre v. Perlitz et al, C.A. No.: 3:14-cv-01084-RNC; (13) Frezin v. Perlitz et al, C.A. No.: 3:14-
cv-01155-RNC; (14) Papillon v. Perlitz et al, C.A. No.: 3:14-cv-01533-RNC; (15) Peniel v. Perlitz et al, C.A. No.:

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purposes. See Orders dated March 28, 2014, June 26, 2014 and March 27, 2018 (per Chatigny,

U.S.D.J.), USDC Docket, St. Louis.8 Prior to the settlement of the PPT II Lawsuits, limited

discovery was conducted. Answers to Interrogatories were served by thirty-six (36) of the PPT

plaintiffs,9 and twenty-three (23) depositions of the PPT plaintiffs were taken.10 Interviews of

thirty-five (35) claimants with Represented Claims were also conducted.11

                  B.       The Settlement of the PPT II Lawsuits and the PPT Claims

         In response to the Court’s concern that the PPT II Lawsuits would be “never-ending,”

hearing transcripts disclose that counsel for the PPT plaintiffs suggested in 2014, and again in

2015, that a class action might be used as a “vehicle” to provide finality, if a settlement could be



3:14-cv-01648-RNC; (16) Jean-Noel v. Perlitz et al, C.A. No.: 3:14-cv-01846-RNC; (17) Derilien v. Perlitz et al,
C.A. No.: 3:14-cv-01418-RNC; and (18) Augustin v. Perlitz et al, C.A. No.: 3:14-cv-01872-RNC. Id. Of the total
of fifty-five (55) PPT II Lawsuits filed, three (3) lawsuits were dismissed, namely, Clervil v. Perlitz et al, C.A.
No.:3:13-cv-01904-RNC, Cameus v. Perlitz et al, C.A. No.:3:13-cv-00815-RNC and Jean v. Perlitz et al, C.A. No.:
3:13-cv-01632-RNC, and a Suggestion of Death was filed in regard to a fourth lawsuit, filed by Dimitry Joseph,
Joseph v. Perlitz et al, C.A. No.: 3:13-cv-01635-RNC, resulting in a total of fifty-one (51) PPT II Lawsuits.
8
  The PPT II Lawsuits followed an earlier round of lawsuits against Fairfield and other defendants, alleging sexual
abuse of PPT students, Jean-Charles v. Pelitz, et al., U.S. District Court for the District of Connecticut, C.A. No.
3:11-cv-00614-RNC (the “PPT I Lawsuits”), which were resolved in 2013. The PPT I Lawsuits were also
consolidated “for pre-trial purposes” with under the lead case, Jean-Charles v. Perlitz et al, Civil Action No.: 3:11-
cv-00614-RNC. See Orders dated January 19, 2012 (J. Hall, U.S.D.J.) and October 31, 2012 (R. Chatigny,
U.S.D.J.).
9
 See Answers to Interrogatories of Felix Pierre, Wisky Jerome, Gervil St. Louis, Ilguens Jean, Jose Bernardin,
Jheempson Brismac Joseph, Eliphete Alibert, Christophe Faustin, Dimitry Joseph, Dorat Jean, Eliodor Fleuridor,
Gesner Lecenat, Jamesly Guillaume, Jasmin Joseph, Jean Moise, Emile, Johnson Audate, Papouche Fils-Aime,
Raynel Odilbert, Joël Albert, Emile Jean-Pierre, Geffrard Lecenat, Kensley Prévil, Erlick Benjamin, Dieu-Dabel
Bernard, Emmanuel Pierre, Wadson Dorcine, Luccé Calixte, Robens Pierre, Mackenson Bien-Aimé, Daphélus
Baptiste, Louis Saint Cirin, Wendy Derice, Jacques Mackenso and Jason Maxwell Deriza, Emmanuel Clervil and
Frisnel Jean, attached hereto as Ex. 6.A. and 6.B.
10
  See Deposition Transcripts of Jose Bernardin, Jean Dorat, Wadson Dorcine, Jean Moise Emile, Jamesly
Guillaume, Ilguens Jean, Wisky Jerome, Jasmin Joseph, Jheempson Brismac Joseph, Geffrard Lecenat, Gesner
Lecenat, Raynel Odilbert, Emile Jean Pierre, Kensley Previl, Louis Saint Cirin, Johnson Audate, Jason Maxwel
Deriza, Papouche Fils-Aimé, Christophe Faustin, Luccé Calixte, Jacques Mackenson, Eliodor Fleuridor and Dieu-
Dabel Bernard, attached hereto as Ex. 7.
11
  For a list of the eighty-three (83) Represented Claims, please see the email dated February 20, 2017 from mediator
Judge Robert L. Holzberg to John J. McGivney, Esq., et al. and its attachment, attached hereto as Ex.5. For a list of
the thirty-five (35) claimants with Represented Claims who were interviewed, please see the email dated March 28,
2017 from Judge Holzberg to John J. McGivney, Esq., et al. and its attachments, attached hereto as Ex. 8.

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reached in the PPT II Lawsuits, which would then result in a “settlement class” and a “bar date”

for any further claims being made. See Transcript of Telephone Conference before Hon. Robert

N. Chatigny, U.S.D.J., dated July 7, 2014, USDC Docket, St. Louis at 6; Transcript of Status

Conference before Hon. Robert N. Chatigny, U.S.D.J., dated February 17, 2015, USDC Docket,

St. Louis at 10. Following a mediation held in May 2018, the parties reached a $60 million

settlement for the claims against all defendants, including Fairfield, and a settlement fund was

established. See Settlement Agreement dated January 14, 2019, Fairfield Ex. M; Confidential

Funding Side Letter dated January 14, 2019, Fairfield Ex. N. Of the $60 million settlement

reached, $35 million was allocated to Fairfield and the remainder was allocated to other

defendants. See Confidential Funding Side Letter dated January 14, 2019, Fairfield Ex. N.

        In accordance with the suggestion of the PPT plaintiffs’ counsel to use a class action as a

settlement “vehicle” in order to stem Fairfield’s liability for all claims irrespective of whether or

not they had been filed at the time of settlement, the settlement covered not only the fifty-one

(51) PPT II Lawsuits, but also the eighty-three (83) Represented Claims not yet in suit, and any

other potential, unknown victims who had not yet raised claims – eventually consisting of the

thirty-five (35) Unrepresented Claims. To this end, under the Settlement Agreement executed by

the parties (the “Settlement Agreement”), the “Settlement Class” was defined as “all persons

who, during the [period January 1, 1996 through July 1, 2009], were subject to Sexual Abuse on

the island of Hispaniola by Douglas Perlitz, Father Carrier, or any other person affiliated with . . .

[PPT] and who claim that such Sexual Abuse was caused by or related to any act or omission of

any Defendant.”12 See Settlement Agreement, Fairfield Ex. M at 11. The Settlement Agreement


12
  Douglas Pertlitz was the Director of PPT. All of the PPT plaintiffs and PPT claimants alleged sexual abuse by
Pertlitz. Father Paul Carrier was Fairfield’s University Chaplain and a member of its faculty. Father Carrier was
named as a defendant in all of the PPT II Lawsuits, and claims of negligent supervision and breach of fiduciary duty
were asserted against him for his role at Fairfield with respect to PPT. One of the PPT plaintiffs, Bernard Michel

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provided that any person claiming to be a “Settlement Class Member” could submit a Claim

Form to become a “Qualifying Settlement Class Member” and a Claims Assessor “will

determine whether [a] person claiming to be a Settlement Class Member has submitted adequate

proof to establish that he or she is a Qualifying Settlement Class Member.” See id., Fairfield Ex.

M at 15.

        The total amount of the Settlement was fixed at $60 million, and Fairfield’s portion of the

Settlement was fixed at $35 million, regardless of how many unknown persons might later

submit claims to be included in the Settlement Class. See id,, Fairfield Ex. M at 13-14;

Confidential Funding Side Letter dated January 14, 2019, Fairfield Ex. N. Every Qualifying

Settlement Class Member was entitled to receive a “Settlement Payment” (defined as a pro rata

share of all money in the “Settlement Fund” that remained after deducting various specified fees

and costs). See Settlement Agreement, Fairfield Ex. M at 12, 15. The Settlement Agreement

also set forth details concerning notice to the Settlement Class and administration of the

claims. See id., Fairfield Ex. M at 7-18, 18-21.

        In order to implement the class settlement structure to resolve all potential future claims

arising out of the alleged abuse at PPT, the Settlement Agreement required that, after the

settlement fund was established, the PPT plaintiffs would then move to file a class action

complaint and seek court approval for a Settlement Class and the settlement amount. See id.,

Fairfield Ex. M at 4, 21-22. In accordance with this, on January 25, 2019, after the settlement

fund was established, the PPT plaintiffs moved for leave to file a class action complaint (the

“Motion for Leave”) “so that Rule 23 allegations [could] be added, in order to effectuate the



(“Michel”), also asserted two (2) federal statutory claims that he was sexually abused by Father Carrier. However,
Michel’s statutory claims against Father Carrier were dismissed. See Ruling and Order dated March 31, 2016 (per
Chatigny, U.S.D.J.), USDC Docket, St. Louis. Michel failed thereafter to amend his complaint to add common law
claims against Father Carrier for his alleged abuse. See USDC Docket, St. Louis.

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proposed settlement.” See Motion for Leave, USDC Docket, St. Louis, docket entry dated

January 25, 2019, at 5. The PPT plaintiffs’ Motion for Leave to file the class action complaint

specifically stated that, if the Court did not approve the settlement, the class action complaint

would be withdrawn, “and the original Complaints will remain the operative pleadings in the

Plaintiffs’ cases.” See id. The Motion for Leave was allowed, and a class action complaint was

filed seeking certification of a “settlement class.” See USDC Docket, St. Louis, docket entries

dated January 25, 2019.

        By an Interim Approval Order dated June 6, 2019, the Court certified the Settlement

Class. See Order dated June 6, 2019 (per Chatigny, U.S.D.J.), USDC Docket, St. Louis. By a

Final Approval Order dated August 27, 2019, the Court found that the statutory notice

requirements were satisfied, and issued final approval of the settlement according to the terms of

its Interim Approval Order. See Order dated August 27, 2019 (per Chatigny, U.S.D.J.), USDC

Docket, St. Louis. Judgment entered on September 26, 2019. See Judgment dated September 26,

2019, USDC Docket, St. Louis. The only purpose of the class action complaint and procedure

was to settle all fifty-one (51) of the pending PPT II Lawsuits, along with any unfiled

Represented Claims or Unrepresented Claims, and to bar all future claims against Fairfield and

other defendants arising out of alleged sexual abuse at PPT, so that, in the words of the Court

(Chatigny, U.S.D.J.), litigation would not be “never-ending.” See generally Settlement

Agreement, Fairfield Ex. M; see also Transcript of Telephone Conference before Hon. Robert N.

Chatigny, U.S.D.J., dated July 7, 2014, USDC, St. Louis at 6; Transcript of Status Conference

before Hon. Robert N. Chatigny, U.S.D.J., dated February 17, 2015, USDC Docket, St. Louis at

10.




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        Of the $35 million settlement amount allocated to Fairfield under the settlement, Chubb

paid $24,014,287, and Fairfield paid $10,985,713. See Confidential Funding Side

Letter/Agreement dated January 9, 2019, Ex. 4. Fairfield’s payment was for settlement amounts

allocated to periods in which there was no excess coverage available from Chubb, from July 1,

2004 to July 1, 2008, when the Sexual Abuse or Molestation Exclusions applied. See Excess

Policy, “Sexual Abuse or Molestation Exclusion,” Ex. 3.H.; Ex. 3.I.; Ex. 3.J.; Excess Policy,

“Abuse or Molestation – Total Exclusion,” Ex. 3.K.

        C.       The Chubb Policies

        Federal issued a series of primary domestic commercial general liability policies to

Fairfield, individually, “Domestic Primary Policy,” collectively, “domestic primary policies,”

with separate, annual policy periods from July 1, 1997 to July 1, 2009. See Ex. 1.A. (Domestic

Primary Policy, July 1, 1997-July 1, 1998); Ex. 1.B. (Domestic Primary Policy, July 1, 1998-July

1, 1999); Ex. 1.C. (Domestic Primary Policy, July 1, 1999-July 1, 2000); Ex. 1.D. (Domestic

Primary Policy, July 1, 2000-July 1, 2001); Ex. 1.E. (Domestic Primary Policy, July 1, 2001-July

1, 2002); Ex. 1.F. (Domestic Primary Policy, July 1, 2002-July 1, 2003); Ex. 1.G. (Domestic

Primary Policy, July 1, 2003-July 1, 2004); Ex. 1.H. (Domestic Primary Policy, July 1, 2004-July

1, 2005); Ex. 1.I. (Domestic Primary Policy, July 1, 2005-July 1, 2006); Ex. 1.J. (Domestic

Primary Policy, July 1, 2006-July 1, 2007); Ex. 1.K. (Domestic Primary Policy, July 1, 2007-July

1, 2008); Ex. 1.L. (Domestic Primary Policy, July 1, 2008-July 1, 2009). Vigilant issued a series

of primary international commercial general liability policies to Fairfield, individually,

“International Primary Policy,” collectively, “international primary policies,” with separate,

annual policy periods from September 1, 2003 to July 1, 2009. See Ex. 2.A. (International

Primary Policy, September 1, 2003-July 1, 2004); Ex. 2.B. (International Primary Policy, July 1,



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2004-July 1, 2005); Ex. 2.C. (International Primary Policy, July 1, 2005-July 1, 2006); Ex. 2.D.

(International Primary Policy, July 1, 2006-July 1, 2007); Ex. 2.E. (International Primary Policy,

July 1, 2007-July 1, 2008); Ex. 2.F. (International Primary Policy, July 1, 2008-July 1, 2009).

        Each of the domestic and international primary policies stated, in virtually identical

terms, that Chubb would “pay damages that the insured becomes legally obligated to pay by

reason of liability . . . for bodily injury or property damage caused by an occurrence to which

this coverage applies” but only for such “bodily injury or property damage that occurs during

the policy period.” See Domestic Primary Policy, “Coverages,” Exs. 1.A.; 1.B.; 1.C.; 1.D.; 1.E.;

1.F.; 1.G.; 1.H.; 1.I.; 1.J.; 1.K.; and 1.L.; International Primary Policy, “Coverages,” Exs. 2.A.;

2.B.; 2.C.; 2.D.; 2.E.; and 2.F. Under both the domestic and international primary policies, an

“occurrence” is defined as “an accident, including continuous or repeated exposure to

substantially the same general harmful conditions.” See Domestic Primary Policy, “Definitions,”

Exs. 1.A.; 1.B.; 1.C.; 1.D.; 1.E.; 1.F.; 1.G.; 1.H.; 1.I.; 1.J.; 1.K.; and 1.L.; International Primary

Policy, “Definitions,” Exs. 2.A.; 2.B.; 2.C.; 2.D.; 2.E.; and 2.F.

        For the policy periods from July 1, 2004 to July 1, 2009, each of the domestic primary

policies and each of the international primary policies contained the Non Accumulation of Limits

Endorsement. See Domestic Primary Policy, “Limits Of Insurance,” “Non Accumulation Of

Limits Of Insurance,” Exs. 1.H.; 1.I.; 1.J.; 1.K.; and 1.L; International Primary Policy, “Limits

Of Insurance,” “Non Accumulation Of Limits Of Insurance,” Exs. 2.B.; 2.C.; 2.D.; 2.E.; and 2.F.

        Federal also issued a series of commercial excess and umbrella liability domestic policies

to Fairfield, with separate, annual policy periods from July 1, 1997 to July 1, 2008, including the

2004-2008 Excess Policies. See Ex. 3.A. (Excess Policy, July 1, 1997-July 1, 1998); Ex. 3.B.

(Excess Policy, July 1, 1998-July 1, 1999); Ex. 3.C. (Excess Policy, July 1, 1999-July 1, 2000);



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Ex. 3.D. (Excess Policy, July 1, 2000-July 1, 2001); Ex. 3.E. (Excess Policy, July 1, 2001-July 1,

2002); Ex. 3.F. (Excess Policy, July 1, 2002-July 1, 2003); Ex. 3.G. (Excess Primary Policy, July

1, 2003-July 1, 2004); Ex. 3.H. (Excess Policy, July 1, 2004-July 1, 2005); Ex. 3.I. (Excess

Policy, July 1, 2005-July 1, 2006); Ex. 3.J. (Excess Policy, July 1, 2006-July 1, 2007); Ex. 3.K.

(Excess Policy, July 1, 2007-July 1, 2008). Under its “Coverage A,” each excess policy provides

“Excess Follow-Form Coverage A,” which “applies only if the triggering event that must happen

during the policy period of the applicable underlying insurance happens during the policy

period of this insurance.” See Excess Policy, “Coverage/Excess Follow-Form Coverage A,” Exs.

3.A.; 3.B.; 3.C.; 3.D.; 3.E.; 3.F.; 3.G.; 3.H.; 3.I.; 3.J.; and 3.K. Each of the 2004-2008 Excess

Policies contained a Sexual Abuse or Molestation Exclusion that applied to bar coverage under

those policies for the PPT II Lawsuits and the PPT claims. See Excess Policy, “Sexual Abuse or

Molestation Exclusion,” Ex. 3.H.; Ex. 3.I.; Ex. 3.J.; Excess Policy, “Abuse or Molestation –

Total Exclusion,” Ex. 3.K.

III.    LAW AND ARGUMENT

        A.       Coverage under Each of the Chubb Policies Is Limited to Bodily Injury that
                 Occurred During that Policy’s Policy Period.

        An express condition to the application of the Non Accumulation of Limits Endorsements

is the language in these Endorsements that the “claim or suit” “be covered under two or more of

[the Chubb] policies.” See Domestic Primary Policy, “Limits Of Insurance,” “Non

Accumulation Of Limits Of Insurance,” Exs. 1.H.; 1.I.; 1.J.; 1.K.; and 1.L; International Primary

Policy, “Limits Of Insurance,” “Non Accumulation Of Limits Of Insurance,” Exs. 2.B.; 2.C.;

2.D.; 2.E.; and 2.F. (emphasis added). Critical to understanding what claims or suits are

“covered” under the Chubb Policies is that the policies are occurrence-based policies, under

which coverage is limited to damages for bodily injury that occurred during the particular


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policy’s annual policy period. In this regard, the coverage grant in each of the Chubb primary

policies applies only to “damages that the insured becomes legally obligated to pay by reason of

liability . . . imposed by law . . . for bodily injury . . . that occurs during the policy period.” See

Domestic Primary Policy, “Coverages,” Exs. 1.A.; 1.B.; 1.C.; 1.D.; 1.E.; 1.F.; 1.G.; 1.H.; 1.I.;

1.J.; 1.K.; and 1.L.; International Primary Policy, “Coverages,” Exs. 2.A.; 2.B.; 2.C.; 2.D.; 2.E.;

and 2.F. Each of the Chubb excess policies similarly requires that the bodily injury occur during

the policy period, stating, with respect to Coverage A, the excess follow-form coverage, that

“[t]his coverage applies only if the triggering event that must happen during the policy period of

the applicable underlying insurance happens during the policy period of this insurance,” and

similarly, with respect to Coverage B, umbrella coverage, that “[t]his coverage applies only to

such bodily injury . . . that occurs during the policy period.” See Excess Policy,

“Coverage/Excess Follow-Form Coverage A,” “Coverages/Umbrella Coverage B,” Exs. 3.A.;

3.B.; 3.C.; 3.D.; 3.E.; 3.F.; 3.G.; 3.H.; 3.I.; 3.J.; and 3.K.

        Nothing in the language of the Non Accumulation of Limits Endorsements changes the

primary or excess Chubb Policies’ grants of coverage for bodily injury that occurs within each

particular policy’s annual period. Indeed, the Non Accumulation of Limits Endorsements

expressly state that those terms and conditions “remain unchanged,” and speak in terms of

“annual aggregate limits” and limits “for any one policy year.” See Domestic Primary Policy,

“Limits Of Insurance,” “Non Accumulation Of Limits Of Insurance,” Exs. 1.H.; 1.I.; 1.J.; 1.K.;

and 1.L; International Primary Policy, “Limits Of Insurance,” “Non Accumulation Of Limits Of

Insurance,” Exs. 2.B.; 2.C.; 2.D.; 2.E.; and 2.F.

        Interpreting similar language, the Connecticut Supreme Court has stated that “[n]either

the insurers nor the insured could reasonably have expected that insurers would be liable for



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losses occurring in periods outside of their respective policy coverage periods.” Sec. Ins. Co. v.

Lumbermens Mut. Cas. Co., 264 Conn. 688, 710 (2003) (emphasis added). The Lumbermens

Court noted that “‘[u]nder occurrence basis [comprehensive general liability insurance] . . ., [t]he

triggering point . . . is the time of alleged injury, which triggers the . . . carrier’s duty to defend . .

. . The key point is the time of the precipitating injury . . . .’” Id. at 692 n. 5, quoting J. Stempel,

Law of Insurance Contract Disputes (2002 Sup.) § 14.02, p. 14-9) (emphasis added).

        The Lumbermens Court further noted, “‘Historically, the [comprehensive general liability

policy] has been written on an accident or occurrence basis . . . . According to the express

language of the occurrence basis [comprehensive general liability policy], the insurer is obligated

to defend claims and pay for covered ‘bodily injury,’ … where the injury is caused by an

occurrence and takes place during the policy period. Thus, the occurrence-basis policy is geared

to paying claims for losses that take place during the policy period and result in a policyholder’s

legal liability . . . . [T]here must be an injury from an occurrence during the policy period to

trigger occurrence policy coverage.’” Id. at 697 n. 12, quoting J. Stempel, Law of Insurance

Contract Disputes (2002 Sup.) § 14.09[a][1], p. 14-41) (emphasis added). Therefore, “if the

complaint alleges a liability which the policy does not cover, the insurer is not required to

defend” because “the insured’s policies do not cover liabilities that reasonably can be

apportioned to periods outside of each respective policy period.” Id. at 712 (emphasis added).

        Accordingly, each Chubb Policy, pursuant to its express language limiting its coverage to

“bodily injury . . . that occurs during the policy period,” “covers” only those PPT II Lawsuits or

PPT claims that allege injury to the PPT plaintiff or claimant during that policy’s time period.

The condition to the application of the Non Accumulation of Limits Endorsement – i.e., that the

“claim” or “suit” “be covered under two or more of [the Chubb] policies” – can only be met



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when there are two or more Chubb Policies in effect for the same policy period that, therefore,

“cover” the same bodily injury that occurred in that policy period. Any Chubb Policy that was

not in effect when the bodily injury occurred does not “cover” such PPT II Lawsuit or PPT

claim. By its very terms, the Non Accumulation of Limits Endorsement has no effect in the

absence of such overlapping coverage. The word “covered” in the Non Accumulation of Limits

Endorsements makes clear that, in order for the Non Accumulation of Limits Endorsements to

apply, coverage for a “claim or suit” must be overlapping under two or more Chubb Policies –

i.e., the “claim or suit” must be “covered” under two or more such policies.

        B.       The Non Accumulation of Limits Endorsements Are Anti-Stacking
                 Provisions That Bar Multiple Recoveries for a “Claim or Suit” When Chubb
                 Has Issued Two or More Policies that “Cover” the Same Injury in the Same
                 Policy Period.

                 1.    The Non-Accumulation of Limits Endorsements Are Anti-Stacking
                       Provisions that Apply Where Coverage for a “Claim or Suit” Under Two
                       or More Chubb Policies Overlaps.

        Because each of the 2004-2008 Excess Policies contained such a clear Sexual Abuse or

Molestation Exclusion barring coverage for the PPT II Lawsuits and PPT claims, Fairfield has

argued that, pursuant to the Non Accumulation of Limits Endorsements, PPT II Lawsuits and

PPT claims alleging injuries during the periods of those policies are covered under earlier Chubb

policy periods which did not contain such an exclusion – specifically, the 1999-2000 Excess

Policy. Fairfield’s argument is untethered from the language of the endorsements. Again, the

Non-Accumulation of Limits Endorsements state in virtually identical form:

        This policy is one of several policies issued by us or other member insurers of
        the Chubb Group of Insurance Companies to you, and/or your subsidiary
        companies. It is agreed that any claim or suit which could be covered under two
        or more of these policies will be covered under only the policy with the highest
        limit of insurance available or, if the limits are the same, under only one of the
        policies. Regardless of the number of claims or suits, the number of policies, or
        the number of additional insureds which would be involved, the combined total


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        annual aggregate limits of liability under all such policies to which this
        endorsement is attached will not exceed the aggregates stated below for any one
        policy year:

        $2,000,000     General Aggregate Limit
                       Products-Completed Operations Aggregate Limit
                       Advertising Injury and Personal Injury Aggregate Limit

        All other terms and conditions remain unchanged.

See e.g., Domestic Primary Policy, “Limits Of Insurance,” “Non Accumulation Of Limits Of

Insurance,” Exs. 1.H.; 1.I.; 1.J.; 1.K.; and 1.L; International Primary Policy, “Limits Of

Insurance,” “Non Accumulation Of Limits Of Insurance,” Exs. 2.B.; 2.C.; 2.D.; 2.E.; and 2.F.

(bold type in original, underscored, italicized bold type added).

        It is telling that Fairfield does not bother to quote the language of the Endorsements until

page 18 of its summary judgment brief, and even then, it omits everything after the second

sentence of the Endorsements quoted above. See generally Memorandum of Law in Support of

Plaintiff’s Motion for Partial Summary Judgment (“Fairfield Summary Judgment Brief”).

Fairfield’s omission speaks volumes. The Non Accumulation of Limits Endorsements do not

permit Fairfield to reach outside of the policy periods of the 2004-2008 Excess Policies and shift

coverage for PPT II Lawsuits or PPT claims alleging molestation and resulting injury during the

periods of those policies to the earlier 1999-2000 Excess Policy. By their plain wording, the Non

Accumulation of Limits Endorsements provide that where two or more Chubb Policies “cover” a

“claim or suit,” only the policy limit of one policy applies to such “claim or suit,” and the

combined total “annual aggregate limits” of those policies will not exceed the General

Aggregate Limit stated for that “one policy year.” See e.g., Domestic Primary Policy, “Limits Of

Insurance,” “Non Accumulation Of Limits Of Insurance,” Exs. 1.H.; 1.I.; 1.J.; 1.K.; and 1.L;




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International Primary Policy, “Limits Of Insurance,” “Non Accumulation Of Limits Of

Insurance,” Exs. 2.B.; 2.C.; 2.D.; 2.E.; and 2.F. (emphasis added).

        The word “covered” in the Non Accumulation of Limits Endorsements makes clear that,

in order for the Non Accumulation of Limits Endorsements to apply, coverage for a “claim or

suit” must be overlapping under two or more Chubb Policies – i.e., the “claim or suit” is

“covered” under two or more such policies. As explained above, a “claim or suit” cannot meet

this requirement and be “covered” under two or more Chubb Policies unless those two or more

policies cover the same policy period, such that the “claim or suit” is covered under both polices.

See Lumbermens, 264 Conn. at 697 n. 12, 712 (emphasis added) (concluding that, “there must be

an injury from an occurrence during the policy period to trigger occurrence policy coverage,’”

and “the insured’s policies do not cover liabilities that reasonably can be apportioned to periods

outside of each respective policy period”). There cannot be overlapping coverage among the

successive Chubb Policies covering separate, annual policy periods for “claims or suits” that

allege injuries which occurred in different policy years. Therefore, by their very language, the

Non Accumulation of Limits Endorsements do not shift coverage for “suits” or “claims” across

the different policy years.

        That the Non Accumulation of Limits Endorsements apply only when there are two or

more Chubb Policies in effect during the same policy period – which therefore, “cover” the same

“claim or suit” – is also evidenced by the Endorsements’ references to “annual aggregate limits”

and the General Aggregate Limit stated for “any one policy year.” See e.g., Domestic Primary

Policy, “Limits Of Insurance,” “Non Accumulation Of Limits Of Insurance,” Exs. 1.H.; 1.I.; 1.J.;

1.K.; and 1.L; International Primary Policy, “Limits Of Insurance,” “Non Accumulation Of

Limits Of Insurance,” Exs. 2.B.; 2.C.; 2.D.; 2.E.; and 2.F. (emphasis added). By these



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references, the Non Accumulation of Limits Endorsements address the maximum limits available

in each policy year for a “covered” “claim or suit,” regardless of the number of policies that

Chubb issued to Fairfield for that particular policy year. Accordingly, these references clarify

that the Non Accumulation of Limits Endorsements apply only when two or more Chubb

Policies are in effect for the same “annual” period or for “one policy year” – i.e., for the same

policy year.

        The law is also clear on the meaning of non-accumulation of limits language like that in

Chubb’s Non Accumulation of Limits Endorsements. Such “[n]on-stacking, or non-cumulation,

provisions prevent an insured from recovering greater liability than that for which was contracted

. . . [and] are designed such that an insured may not obtain coverage for the same injury under

multiple policies, thereby obtaining greater coverage than the amount of liability coverage

contracted for in a single policy.” Mt. McKinley Ins. Co. v. Corning, Inc., 2012 N.Y. Misc.

LEXIS 6531, at *15 (Sup. Ct. Sept. 7, 2012) (emphasis added). Noting that the language of the

endorsement there did not “reach out of its policy’s time period[,]” the court held that it

“applie[d] only to policies in effect during each particular policy’s covering period.” Id. at *

18-19 (emphasis added).

        Simply put, the function of the Non-Accumulation of Limits Endorsements is, where

Chubb has issued two or more policies to Fairfield for the same policy period which, therefore,

“cover” the same “claim or suit,” they limit Chubb’s obligation, and Fairfield’s recovery, to one

policy limit, namely the higher one, or if the limits are the same, to only the limit under one of

the policies in that policy year. Accordingly, the endorsements do not permit Fairfield to reach

outside of the 2004-2008 Excess Policies, and shift coverage for PPT II Lawsuits or PPT claims

alleging injury during the periods of those policies to the earlier 1999-2000 Excess Policy.



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                 2.    The Non Accumulation of Limits Endorsement Do Not Override the
                       Policies’ Operation as Occurrence-Based Policies by Reaching Out of the
                       Policies’ Policy Periods and Shifting Coverage for Claims or Suits Across
                       Policy Periods.

        Fairfield cites a pile of inapposite case law in support of its argument. The non-

cumulation clauses in the cases relied upon by Fairfield contain markedly different language

from that in Chubb’s Non Accumulation of Limits Endorsements. Typically, the language in the

cases cited by Fairfield is of the “prior insurance and non-cumulation of liability” type, which

addresses injury or damage occurring before and after the policy period, rather than instances

where two or more policies cover the same policy period and, therefore, the same injury. Those

provisions, unlike the Chubb Non Accumulation of Limits Endorsements, expressly address

injuries occurring outside the policies’ time limitations. Further, the courts’ application of these

provisions has been limited to claims for “long-tail” losses – not claims for sexual abuse, which

courts have consistently held are covered under occurrence based policies only during the policy

periods within which the actual molestation occurred.

        For instance, Fairfield cites Monsanto Company v. Aetna Casualty & Surety Company,

No. 88C-JA-118, 1993 WL 563247 (Del. Super. Ct. Dec. 21, 1993), an unpublished opinion, for

the proposition that non-accumulation endorsements “can designate when an injury occurs

resulting in a certain policy or policy period to apply.” Fairfield Summary Judgment Brief at 12.

However, in Monsanto, the court analyzed the following non-accumulation language:

        Insuring Agreement IV is amended to read: The policy applies only to accidents which
        occur during the policy period anywhere in the world. An accident will be considered as
        occurring only on the date that injury or destruction takes place and in the case of
        continuous or repeated exposure as aforesaid, the accident shall be considered as
        occurring only on the date that the last injury or destruction results.

Monsanto, No. 88C-JA-118, 1993 WL 563247 at *3 (emphasis added). Monsanto is inapposite

here, because the non-accumulation language in that case contained the italicized “deemer”


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language, which specifically designated a single date when all injury – despite being continuous

in nature and spanning multiple policy periods – occurred, and which is entirely absent from

Chubb’s Non Accumulation of Limits Endorsements.

        Citing New England Reinsurance Corp. v. Ferguson Enterprises, Inc., 208 F. Supp. 3d

431 (D. Conn. 2016) as support, Fairfield also makes the feeble assertion that, “[o]ccasionally,

courts have found the language of non-accumulation provisions to be broad enough to

contemplate multiple claims or occurrences.” Fairfield Summary Judgment Brief at 22. Yet, the

non-accumulation clause in Ferguson also differed fundamentally from Chubb’s Non

Accumulation of Limits Endorsements. It stated:

        It is agreed that if any loss covered hereunder is also covered in whole or in part
        under any other excess policy issued to the Insured prior to the inception date
        hereof the limit of liability hereon . . . shall be reduced by any amounts due to the
        Insured on account of such loss under such prior insurance.

Ferguson, 208 F. Supp. 3d at 434 (emphasis added). The Ferguson clause referred to a “loss” –

not a “claim or suit,” as referenced in Chubb’s Non Accumulation of Limits Endorsements. It

required that the “loss” be covered under another policy issued to the insured “prior to the

inception date” of the policy at issue. No such language exists in Chubb’s Non Accumulation of

Limits Endorsements. Further, the Ferguson clause required that the coverage under the other

policy be either “in whole or in part.” In contrast, Chubb’s Non Accumulation of Limits

Endorsements make no “in whole or in part” allowance and do not contemplate instances of

partial coverage under another policy, requiring instead that the “claim or suit” simply “be

covered” under both policies.

        Similarly, Fairfield cites Stonewall Ins. Co. v. E.I. du Pont de Nemours & Co., 996 A.2d

1254 (Del. 2010), for the proposition that non-accumulation endorsements “can reduce the limits

of recovery from subsequent policies.” Fairfield Summary Judgment Brief at 13. However, as


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with the other cases cited by Fairfield, the non-accumulation language in Stonewall again

differed dramatically from that in Chubb’s Non Accumulation of Limits Endorsements. It stated:

        It is agreed that if any loss covered hereunder is also covered in whole or in part
        under any other excess policy issued to the Assured prior to the inception date
        hereof the limit of liability hereon as stated in Items 5 and 6 of the Declarations
        shall be reduced by any amounts due to the Assured on account of such loss under
        such prior insurance.

Stonewall, 996 A.2d at 1259 (emphasis added). By its references to a policy issued “prior to the

inception date hereof” and coverage under that prior policy being “in whole or in part,” the non-

accumulation language in Stonewall, like the Ferguson clause, applied to successive policies

covering consecutive policy periods. Such language is not present in Chubb’s Non

Accumulation of Limits Endorsements.

        Moreover, the interpretation reached in Stonewall and Ferguson is foreclosed here,

because of the references in Chubb’s Non Accumulation of Limits Endorsements to the

combined total “annual aggregate limits” and the aggregates “for any one policy year” (see e.g.,

Domestic Primary Policy, “Limits Of Insurance,” “Non Accumulation Of Limits Of Insurance,”

Exs. 1.H.; 1.I.; 1.J.; 1.K.; and 1.L; International Primary Policy, “Limits Of Insurance,” “Non

Accumulation Of Limits Of Insurance,” Exs. 2.B.; 2.C.; 2.D.; 2.E.; and 2.F. (emphasis added)),

each of which makes clear that the endorsements apply only when two or more Chubb Policies

are in effect for the same “annual” period or for “one policy year” – i.e., the same policy year –

and hence “cover” the same injury.

        Fairfield cites another inapposite case, Plastics Engineering Co. v. Liberty Mutual

Insurance Co., 466 F. Supp. 2d 1071 (E.D. Wis. 2006), a Wisconsin federal court case analyzing

non-accumulation language of the “prior insurance” type discussed above. Fairfield Summary

Judgment Brief at 16, citing Plastics Eng’g Co., 466 F. Supp. 2d at 1082, aff’d 316 F. Appx. 501



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(7th Cir. 2009). In marked contrast to Chubb’s Non Accumulation of Limits Endorsements, the

Plastics Engineering Co. clause referred to instances where “the same occurrence gives rise to

personal injury, property damage or advertising injury or damage which occurs partly before and

partly within any annual period of this policy” and, accordingly, like the Stonewall and Ferguson

clauses, to a payment made “under a previous policy[.]” Plastics Eng’g Co., 466 F. Supp. 2d at

1078 (emphasis added). Based on this language, the court concluded that the non-accumulation

provision addressed successive policies. Id. at 1082. Again, no such language is present in

Chubb’s Non Accumulation of Limits Endorsements.

        In addition, curiously, Fairfield cites Fed. Ins. Co. By & Through Associated Aviation

Underwriters v. Purex Indus., Inc., 972 F. Supp. 872 (D.N.J. 1997), for the proposition that non-

accumulation endorsements “can cap the maximum limits of recovery for a loss.” Fairfield

Summary Judgment Brief at 13-14. This citation is particularly absurd, because Purex actually

supports Chubb’s position. There, the court analyzed the following non-accumulation clause:

        If collectible insurance under any other policy issued through Associate Aviation
        Underwriters is available to the Insured covering a loss also covered hereunder,
        the Insurer’s total liability shall in no event exceed the greater or greatest limit of
        liability applicable to such loss under this or any other such policy.

Purex, 972 F. Supp. at 892. The court rejected the argument that, pursuant to the clause,

coverage was limited to the “policy limit under any one policy,” finding instead that recovery

would not be “prohibited . . . on more than one AAU policy if it can [be] show[n], for example,

that more than one loss occurred, or that the loss it suffered was attributable to more than one

occurrence covered by an AAU policy.” Id. (emphasis added). That is precisely the situation

presented by the PPT II Lawsuits and PPT claims because each PPT plaintiff or claimant

suffered an injury from an occurrence in each policy period in which he was molested.

Accordingly, Purex lends direct support to the proposition that the Non Accumulation of Limits


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Endorsements do not shift coverage for all of the PPT II Lawsuits and PPT claims to a single

policy year.

         In short, with the exception of Purex which supports Chubb’s position, each of the

provisions in the cases cited by Fairfield, unlike the Chubb Endorsements, expressly applied to

injury occurring outside of the policy’s time period. See Mt. McKinley, 2012 N.Y. Misc. LEXIS

6531, at *20 (describing similar non-accumulation language to that contained in the above cases

cited by Fairfield as “expressly consider[ing] an injury occurring outside the time limitations of

each policy”).13 In contrast, language of the type contained in Chubb’s Non Accumulation of

Limits Endorsements does not “reach out of its policy’s time period[,]” but instead “applies only

to policies in effect during each particular policy’s covering period.” Id. at *18-19. And, the

Chubb Non Accumulation of Limits Endorsements are clear that they do not override the

policies’ operation as occurrence-based policies, stating “[a]ll other terms and conditions remain

unchanged.” Accordingly, Fairfield’s forced construction of the Non Accumulation of Limits

Endorsements as allowing it to shift coverage for “claims” or “suits” across different policy

periods, irrespective of when the injuries alleged in such claims or suits occurred, must be



13
   In keeping with its effort to distract the Court from the actual language of the Chubb Non Accumulation of Limits
Endorsements, Fairfield also cites In re Viking Pump, Inc., 52 N.E.3d 1144 (N.Y. 2016), for the proposition that
non-accumulation provisions “were purportedly designed to prevent any attempt by policyholders to recover under a
subsequent policy . . . for a loss that had already been covered by the prior . . . policy.” Fairfield Summary
Judgment Brief at 6. However, as with the other cases cited by Fairfield, Viking Pump is inapposite. It analyzed
non-accumulation provisions of the prior insurance type discussed above, which addressed instances where “the
same occurrence gives rise to personal injury, property damage or advertising injury or damage which occurs partly
before and partly within any annual period of this policy,” and which also specifically contained a continuing
coverage clause addressing instances where “personal injury or property damage arising out of an occurrence
covered hereunder is continuing at the time of termination of this Policy.” Viking Pump, 52 N.E.3d at 1147-48
(emphasis added). The Viking Pump court held that, by their reference to a loss “covered in whole or in part”
under another policy issued “prior to the inception date” of the instant policy, such prior insurance and non-
accumulation provisions contemplated situations where a continuing loss – such as the asbestos bodily injury claims
at issue there – triggered multiple, successive policies. Id. at 1153 (emphasis added). No such language is present
in the Chubb Non Accumulation of Limits Endorsements. Moreover, as discussed below, unlike the continuous
injury, long-tail asbestos bodily injury claims addressed in Viking Pump, the sexual molestation suits and claims at
issue here present discrete acts of molestation and resulting injury that trigger coverage only in the policy period in
which the PPT plaintiff or claimant was molested.

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rejected. See Schilberg Integrated Metals Corp. v. Continental Cas. Co., 263 Conn. 245, 268

(2003) (“courts cannot indulge in a forced construction ignoring provisions or so distorting them

as to accord a meaning other than that evidently intended by the parties”).

                 3.    The Non Accumulation of Limits Endorsements Are, in Effect, “Other
                       Insurance” Provisions.

        Fairfield also asserts that “non-accumulation endorsements are not ‘Other Insurance’

provisions.” Fairfield Summary Judgment Brief at 16. Fairfield’s assertion, as applied to the

language of Chubb’s Non Accumulation of Limits Endorsements, is flatly incorrect, and several

courts have noted the same.

        The non-accumulation clause analyzed in Mt. McKinley stated:

        If the insured has other valid and collectible insurance, other than insurance
        specifically in excess hereof, with any other insurance covering a loss also
        covered by this policy, the insurance afforded by this policy shall be in excess of
        and shall not contribute with such other insurance. If the insured has any other
        policy or policies of insurance with the company covering a loss also covered by
        this policy (other than insurance in excess hereof), the insured shall elect which
        policy shall apply and the company shall be liable under the policy so elected
        and the company shall not be liable under any other policy.

Mt. McKinley, 2012 N.Y. Misc. LEXIS 6531 at *18 (emphasis added). Relying on this policy

language, the Mt. McKinley court characterized such language as an “other insurance” provision

because this type of “[n]on-stacking, or non-cumulation, provision[] . . . [is] designed such that

an insured may not obtain coverage for the same injury under multiple policies, thereby

obtaining greater coverage than the amount of liability coverage contracted for in a single

policy.” Id. at *17 (emphasis added). It went on to note that such clauses are, in effect, “an

‘other insurance’ clause[,]’” reasoning that:

        This type of clause shown in the policies is . . . an “other insurance” clause.
        These clauses apply when multiple policies cover the same injury during the
        same time period. The endorsements function as a bar to multiple recoveries for



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        the same injury during the same time period. This is exemplified in the language
        of the endorsements, none of which reach out of its policy’s time period.

Id. (emphasis added).

        Other courts that have analyzed the issue are in accord. For example, in Boson Gas Co.

v. Century Indemnity Co., 454 Mass. 337, 910 N.E.2d 290 (Mass. 2009), the court analyzed the

following clause:

        If collectible insurance under any other policy of [this insurer] is available to [the
        insured], covering a loss also covered hereunder, [this insurer’s] total liability
        shall in no event exceed the greater or greatest limit of liability applicable to such
        loss under this or any other such policy provided, however, this does not apply to
        insurance with [this insurer] which is written as underlying insurance or which is
        written as excess insurance over the limit provided in this policy.

Boston Gas Co., 454 Mass. at 343, 910 N.E.2d at 296 (emphasis added). As with Chubb’s Non

Accumulation of Limits Endorsements, the Boston Gas Co. clause addressed instances of

overlapping coverage – where two or more of the same insurer’s policies “cover” the same injury

or damage. The Boston Gas Co. correctly recognized that such provisions operate, in effect, as

“Other Insurance” provisions, and do not provide coverage for injuries occurring before or after

the policy’s time period, stating:

        . . . [the] clauses do not reflect an intention to cover losses from damage outside
        the policy period. Rather, [they] simply reflect a recognition of the many
        situations in which concurrent, not successive, coverage would exist for the same
        loss.

Boston Gas Co., 454 Mass. at 361, 910 N.E.2d at 308.

        Fairfield cites the “Other Insurance” provision contained in the Chubb international

primary policies containing the Non Accumulation of Limits Endorsements, and suggests that

the presence of such “Other Insurance” provision somehow defeats Chubb’s interpretation of the

Non Accumulation of Limits Endorsements. See Fairfield Summary Judgment Brief at 17. This

argument is a red herring. This “Other Insurance” provision cited by Fairfield addresses


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situations of concurrent policies, where a company other than Chubb issued the other policy or

policies providing the concurrent coverage to Fairfield. In contrast, the Non Accumulation of

Limits Endorsements address situations of concurrent policies, where Chubb issued both of the

policies providing the concurrent coverage to Fairfield. Policies simultaneously containing both

types of provisions have been addressed by courts and have given the courts no pause. See, e.g.,

Mt. McKinley, 2012 N.Y. Misc. LEXIS 6531 at *18 (addressing non-accumulation clause that

addressed, in one part, situations where the insured has “other insurance covering a loss also

covered by this policy[,]” and in another part, situations where “the insured has any other policy

or policies of insurance with the company covering a loss also covered by this policy”)

(emphasis added); Boston Gas. Co., 454 Mass. at 343-44, 910 N.E.2d at 296 (addressing a clause

entitled “Other Insurance with [Century]” and a clause in the same policy entitled “Other

Insurance Not with [Century]”) (emphasis added).

        Simply put, because Chubb’s Non Accumulation of Limits Endorsements refer to

instances where the same “claim or suit” is “covered under two or more” of the occurrence-

based policies issued by Chubb to Fairfield for particular policy years, the Non Accumulation of

Limits Endorsements address instances of concurrent, not successive, policies and are, in effect,

“Other Insurance” provisions.

        C.       The PPT II Lawsuits Are Not Long-Tail Claims, But Even If They Were, the
                 PPT II Lawsuits Alleging Injuries During the 2004-2008 Excess Policies Are
                 Not “Covered” by the 1999-2000 Excess Policies.

                 1.    An Occurrence-Based Policy Is Triggered, and Therefore “Covers,” a
                       Sexual Abuse Claim or Suit Only If the Act of Sexual Abuse and Injury
                       Occurred During the Policy Period.

        Courts that have considered the issue have treated sexual abuse or molestation claims as

triggering coverage only under an occurrence-based policy in effect when the bodily injury – i.e.,



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the bodily injury from the act of molestation – occurred. See, e.g., Society of Roman Catholic

Diocese of Lafayette & Lake Charles, Inc. v. Interstate Fire & Cas. Co., 26 F.3d 1359, 1366 (5th

Cir. 1994) (holding that “[e]ach carrier is responsible, up to its occurrence limits, for all damages

emanating from molestations that occur during the insurer’s policy period. All molestations

occurring outside a carrier’s policy are covered by the insurer on the risk at the time of the

molestation.”); Interstate Fire & Cas. Co. v. Archdiocese of Portland, 35 F.3d 1325, 1327-28,

1331 (9th Cir. 1994) (concluding “each policy covers only damages stemming from [the

plaintiff’s] exposure to Father Laughlin occurring during the policy period”). The decision in

Diocese of Lafayette was cited in H.E. Butt Grocery v. Nat’l Union Fire Ins. Co., 150 F.3d 526,

531 (5th Cir. 1998), where “two independent acts of sexual abuse ‘caused’ the two children’s

injuries and gave rise to [the insured’s] separate and distinct liability in each case.” In turn, H.E.

Butt Grocery has been cited with approval by the Connecticut Supreme Court. See Metro. Life

Ins. Co. v. Aetna Cas. & Sur. Co., 255 Conn. 295, 309, 310, 322 (2000) (citing H.E. Butt

Grocery as finding that, once child was molested by pedophilic employee, there was resulting

injury triggering the negligent supervising employer’s occurrence-based policy in effect at the

time the molestation occurred).14

         .




14
  The Connecticut Supreme Court, in Metro. Life Ins. Co., analyzed the term “occurrence” – albeit in the different
context of asbestos bodily injury claims. Even so, the decision is instructive because it held that the “occurrence”
was each claimant’s initial exposure to asbestos, rather than the insured’s alleged failure to publicize adequately the
dangers of asbestos exposure, which began at some point during the 1930s. Metro. Life Ins. Co., 255 Conn. at 298,
304-305. The court employed an “event test,” under which an “occurrence” is determined by reference to “the event
or events triggering liability on the part of the insured” – that is, “the ‘last link in the causal chain’ leading to [the
insured’s] liability” – and rejected the so-called “cause test,” under which courts look to “some point further back in
the causal chain.” Id. at 313, 315, 316, 317-318, 322.

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        Because each of the Chubb Policies applies only to “bodily injury . . . that occurs during

the policy period,” each PPT II Lawsuit or PPT claim triggers coverage, and is therefore

“covered” – a condition to the application of the Non Accumulation of Limits Endorsements –

only under the Chubb Policy in effect when that PPT plaintiff or PPT claimant was molested.

Any Chubb Policy not in effect at that time of molestation of that PPT plaintiff or claimant does

not “cover” his PPT II Lawsuit or PPT claim.

                 2.     The PPT II Lawsuits and PPT Claims Are Not “Long-Tail” Claims.

        Contrary to Fairfield’s unsupported contention, the PPT II Lawsuits and PPT claims are

not “long-tail claims.” Courts recognize that, in contrast to claims like sexual molestation claims

in which the point of injury is discernable, “long-tail claims” are claims involving progressive

injuries – such as asbestos bodily injuries or environmental contamination injuries – in which it

is scientifically impossible to pinpoint when the injury occurred. See Boston Gas Co. v. Century

Indem. Co., 454 Mass. 337, 350 (2009) (stating that “long-tail claims” are “for injuries which

take place over many years and are caused by environmental damage or toxic exposure” in

which “it is both scientifically and administratively impossible to allocate to each policy the

liability for injuries occurring only within its policy period”) (emphasis added); see also 5 G.

Couch, Insurance § 220:25, at 220-26 (3d ed. 2005) (with respect to “environmental damage and

toxic exposure cases . . . it is virtually impossible to allocate to each policy the liability for

injuries occurring only within its policy period”); Spaulding Composites Co. v. Aetna Cas. &

Sur. Co., 176 N.J. 25, 39 (2003) (noting “the cripplingly complex area of long-tail environmental

exposure insurance coverage”).

        In contrast to “long-tail” asbestos and environmental contamination claims, the PPT II

Lawsuits and the PPT claims are not “long-tail claims,” because it is not “both scientifically and



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administratively impossible” to pinpoint when an injury in the PPT II Lawsuits and PPT claims

occurred. As explained above, the PPT II Lawsuits and the PPT claims involve discrete

instances of abuse and resulting, discernable injury that happened when the abuse occurred, and

therefore, the PPT II Lawsuits and PPT claims are only covered within the policy periods in

which the plaintiff or claimant sustained actual abuse and resulting injury.

        Notably, Fairfield does not cite a single case treating sexual abuse claims as “long-tail

claims,” nor a single case concerning the determination of the “occurrence” or dates of bodily

injury in instances of sexual abuse. Instead, Fairfield cites a host of cases involving long-latency

claims, such as environmental contamination and asbestos bodily injury claims, and not sexual

abuse claims. See e.g., R.T. Vanderbilt Co., Inc. v. Hartford Accident & Undem. Co., 156 A.3d

539, 548 (Conn. App. Ct. 2017) (“long latency asbestos related claims”); Federal Ins. Co. by &

through Associated Aviation Underwriters v. Purex Indus., 972 F. Supp. 872, 876 (D.N.J.)

(groundwater and soil contamination); State of California v. Continental Ins. Co., 281 P.3d 1000,

1005 (Cal. 2012) (environmental damage involving “long-tail” injury, characterized as “a series

of indivisible injuries attributable to continuing events without a single unambiguous ‘cause,’”

and noting, “[i]t is often virtually impossible to prove what specific damage occurred during

each of the multiple consecutive policy periods in a progressive damage case”); Chicago Bridge

& Iron Co. v. Certain Underwriters at Lloyd’s, 797 N.E.2d 434, 440 (Mass. App. Ct. 2003)

(“continuing environmental contamination” implicating policies issued in nine years); Keene

Corp. v. Ins. Co. of N. America, 667 F.2d 1034, 1038, (D.C. Cir. 1981) (asbestos related claims

for injury as a result of inhalation, noting that “inhalation may continue through numerous policy

periods, the disease may develop during subsequent policy periods, and manifestation may occur

in yet another policy period”); Plastics Eng’g Co. v. Liberty Mut. Ins. Co., 466 F. Supp. 2d 1071,



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1073-1077, 1081 (E.D. Wis. 2006) (claims for asbestos related injuries and wrongful death,

alleging injury over a period of time, resulting from “ongoing or continuous exposure,”

implicating multiple policy periods).

        Moreover, even if the PPT II Lawsuits and PPT claims were “long-tail claims,” which

they are not, the Non Accumulation of Limits Endorsements still would not reach outside of a

policy’s policy period to shift coverage for the PPT II Lawsuits and PPT claims triggering the

2004-2008 Excess Policies to the earlier 1999-2000 Excess Policy. In Mt. McKinley, the court

was actually faced with “long-tail” claims – asbestos-related bodily injury claims – and non-

accumulation language similar to Chubb’s Non Accumulation of Limits Endorsements. Even so,

the Mt. McKinley court rejected the insured’s argument that “the non-cumulation language in the

policies allow [the insured] to recover all coverage in a single year as if the injury occurred in

that year alone[,]” noting that the endorsements instead “function as a bar to multiple recoveries

for the same injury during the same time period.” Mt. McKinley, 2012 N.Y. Misc. LEXIS at

6531 at *17, 18 (emphasis added). Here, there is no language in Chubb’s Non Accumulation of

Limits Endorsements that reaches out of each respective policy’s policy period to provide

coverage for injuries that occurred outside of the policy’s policy period.

        D.       The PPT II Lawsuits Do Not Constitute A Single “Suit.”

        Fairfield appears to recognize that, if each of the 169 total underlying claims and suits

comprising the PPT II Lawsuits, the Represented Claims, and the Unrepresented Claims is

treated for what it is – a separate “claim” or “suit” – its argument necessarily fails. This is

because, even under Fairfield’s interpretation of the Non Accumulation of Limits Endorsements

as allowing it to shift coverage for a “claim” or “suit” across different policy years, most of the

PPT II Lawsuits and PPT claims do not allege injuries occurring during the 1999-2000 Excess



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Policy or any available Chubb Policy that does not contain the Sexual Abuse or Molestation

Exclusion.

         Apparently recognizing this, Fairfield attempts to portray the 169 total PPT II Lawsuits

and PPT claims as a single “suit.” Fairfield Summary Judgment Brief at 21-23. Fairfield argues

that, under the Non Accumulation of Limits Endorsement, coverage for such a purported single

“suit” would be shifted to the 1999-2000 Excess Policy because such a “suit” would include

some claims covered under that earlier policy, even though most of the claims in such a

purported single “suit” would have alleged injuries occurring after July 1, 2004 and, therefore,

would not be covered under that policy or any Chubb excess policy.

         The PPT II Lawsuits and PPT claims are not a single “suit.” Much to its chagrin,

Fairfield cannot twist the procedural history of the PPT II Lawsuits to transform the 169 separate

PPT II Lawsuits and PPT claims into a single “suit.” First, Fairfield implies that, because the

PPT II Lawsuits were consolidated for pretrial purposes only, they are a single “suit.”15 This

argument is nonsensical.

         The consolidation of the PPT II Lawsuits was for pretrial purposes only. See Orders

dated January 6, 2014, March 28, 2014, June 26, 2014 and March 27, 2018 (all per Chatigny,

U.S.D.J.), USDC Docket, St. Louis. Moreover, the consolidation of the PPT II Lawsuits for such

pretrial purposes did not strip each of the PPT II Lawsuits of its status as an individual civil

proceeding. See Order dated January 6, 2014 (Chatigny, U.S.D.J.), USDC Docket, St. Louis

(directing the Clerk’s office “to consolidate the following cases for pretrial purposes” only); see



15
  The Represented Claims and the Unrepresented Claims were not brought as “suits,” and therefore, they were not
even part of the consolidation for pretrial purposes. The term “claim” is not defined in the domestic or international
primary policies containing the Non Accumulation of Limits Endorsements. The term “suit” is defined in those
policies as “a civil proceeding in which damages, to which this insurance applies, are sought. Suit includes an
arbitration or other dispute resolution proceeding in which such damages are sought and to which the insured must
submit or does submit with our consent.”

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also Joint Status Reports of Counsel dated March 24, 2014 and June 23, 2014, St. Louis (stating

defendants’, including Fairfield’s position, that the PPT II Lawsuits should be consolidated “for

pre-trial purposes”). Accordingly, there is no basis on which to assert that consolidation of the

PPT II Lawsuits, for pretrial purposes only, transformed those fifty-one (51) separate lawsuits

into a single “suit.”

        Second, Fairfield appears to argue that, because the PPT II Lawsuits and PPT claims

settled using a class settlement structure, they are a single “suit.” This argument is also

nonsensical. The PPT II Lawsuits were not brought as a class action. They were brought as

fifty-one (51) separate lawsuits. The Settlement Fund was established and then suits were

settled, to Fairfield’s benefit and to avoid the Court’s unease at the prospect of “never-ending”

litigation, through the “vehicle” of a class settlement. However, as the “vehicle” for settlement,

the class settlement structure can hardly be said to have transformed the fifty-one (51) separate

PPT II Lawsuits, plus the additional 118 Represented Claims and Unrepresented Claims, into a

single “suit.”

        The class complaint did not assert new claims or seek actual damages against Fairfield or

the other defendants, as would be required for it to be a “suit” under the Chubb Policies – i.e.,

that is, “a civil proceeding in which damages, to which this insurance applies, are sought.”

Rather than assert new claims, after the Settlement Fund was established, the class action

settlement structure was used for a limited, singular purpose: to effectuate the parties’ settlement

agreement to resolve all claims alleging sexual abuse at PPT and stem Fairfield’s liability for any

and all potential, future claims, irrespective of whether they had been filed yet or not, and

thereby to avoid “never-ending” litigation.




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        This limited, singular purpose of the class complaint is borne out by the terms of the

Settlement Agreement and the PPT plaintiffs’ agreed-upon Motion for Leave to file the class

complaint:

       The Settlement Agreement described the proposed settlement as “resolv[ing], finally and
        completely, all pending and potential claims of all plaintiffs, other alleged victims
        identified by Plaintiffs’ Counsel, and all other persons who claim to have been subjected
        to Sexual Abuse by Perlitz or anyone else affiliated in any manner whatsoever with PPT
        and who may claim that any Defendant bears legal responsibility with respect to such
        abuse.” Settlement Agreement, Fairfield Ex. M at 3-4.

       The Settlement Agreement required the PPT plaintiffs to file the Motion for Leave to file
        a class action complaint “to assert allegations in support of and to seek certification of the
        Settlement Class[,]” “in order to effectuate this settlement.” Settlement Agreement,
        Fairfield Ex. M at 14, 16 (emphasis added).

       The defendants in the PPT II Lawsuits, including Fairfield, “agree[d] not to oppose
        certification of the Settlement Class for settlement purposes[,]” but they “reserve[d] their
        right to oppose class certification if for any reason . . . any Plaintiff seeks class
        certification of these claims for any purpose other than settlement.” Settlement
        Agreement, Fairfield Ex. M at 16 (emphasis added).

       Consistent with the parties’ Settlement Agreement, the PPT plaintiffs’ Motion for Leave
        to file a class action complaint did not seek class certification for any purpose other than
        effectuating the parties’ settlement, stating that “[d]efendants consent to this motion
        solely for purposes of facilitating amendments to Plaintiffs’ complaints to effectuate the
        proposed settlement described herein[,]” that “[a]s the proposed amended complaint
        demonstrates, Plaintiffs are not adding new parties nor are they adding new counts or
        damages claims[,]” and that, if the court does not approve the settlement, the class action
        complaint “will be withdrawn” and “the original Complaints will remain the operative
        pleadings in Plaintiffs’ cases.” See Motion for Leave, USDC Docket, St. Louis, docket
        entry dated January 25, 2019, at 4, 5.

        By the clear, agreed-upon terms on which it was filed, the class complaint is not “a civil

proceeding which damages . . . are sought[,]” and therefore, does not meet the definition of

“suit.” Rather than seek damages against Fairfield, the class complaint was filed for the limited,

singular purpose of “effectuat[ing] [the parties’] settlement” to “resolve, finally and completely,

all pending and potential claims” against Fairfield and other defendants by the PPT plaintiffs or

any other future claimants. Settlement Agreement, Fairfield Ex. M at 4, 16.


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        As evidenced by the agreed-upon terms upon which it was filed, the class complaint was

understood by all parties as the “vehicle” for resolving all suits and claims – filed or unfiled –

against Fairfield forever. What was settled, and what was covered or not covered under the

Chubb Policies, were the fifty-one (51) PPT II Lawsuits and the 118 unfiled Represented Claims

and Unrepresented Claims, each of which asserted claims for injuries to a different plaintiff or

claimant occurring in a different policy year or years.

        Tellingly, Fairfield does not cite a single case finding that such a class settlement

structure, used merely as a “vehicle” for settling several pending, individual lawsuits and claims

against the insured and barring future, as-yet-unfiled claims against the insured, is a “suit[,]” let

alone that it transforms the separate lawsuits and unfiled claims comprising it into a single “suit”

for insurance coverage purposes. Such a “forced construction” of the policy language is

proscribed by Connecticut law. See Schilberg, 263 Conn. at 268.

        E.       Even If All of the PPT II Lawsuits Constituted a Single “Suit,” It Would Not
                 Allow Fairfield to Recover under a Single Policy Year.

        Even if the combined total 169 PPT II Lawsuits, Represented Claims, and Unrepresented

Claims were somehow a single “suit” under the Chubb Policies, which they are not, it would not

change the coverage result. As explained above, by their references to “annual aggregate limits”

and the General Aggregate Limit stated for “any one policy year,” the Non Accumulation of

Limits Endorsements apply only when there are two or more Chubb Policies in effect during the

same “annual” period or “one policy year” – i.e., during the same policy period – that, therefore,

“cover” the same injury. Accordingly, even if the 169 claims and suits at issue here presented a

single “suit,” the endorsements do not shift coverage for the injuries alleged in such a “suit”

across the different Chubb policy years.




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        Moreover, even if, as Fairfield insupportably contends, the Non Accumulation of Limits

Endorsements allowed the shifting of coverage for claims and suits across the different policy

years, Fairfield still would not be able to recover for all of the PPT II Lawsuits and PPT claims in

a single policy year. A single “suit,” had it existed (which it did not), would have alleged

instances of sexual abuse and resulting injuries that occurred in more than one policy period.

Therefore, each of the successive Chubb Policies would apply to cover, at most, only the bodily

injury that occurred during the time period of that policy, but none of them would apply to cover

any bodily injury occurring outside of the time period of that policy. See Lumbermens, 264

Conn. at 712 (“the insured’s policies do not cover liabilities that reasonably can be apportioned

to periods outside of each respective policy period”) (emphasis added). As such, each of the

successive Chubb Policies would apply to “cover,” at most, only a part of such “suit,” but none

of them would apply to “cover” the “suit” in whole.

IV.     CONCLUSION

        For all of the foregoing reasons, Chubb respectfully requests that the Court deny

Fairfield’s Motion for Partial Summary Judgment as to Non Accumulation.




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                                                     Respectfully submitted,

                                                     FEDERAL INSURANCE COMPANY and
                                                     VIGILANT INSURANCE COMPANY,

                                              By:    /s/ John J. McGivney

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                               CERTIFICATION OF SERVICE

        I hereby certify that on September 9, 2021, the foregoing was electronically filed and
served by mail on anyone unable to receive notice of electronic filing. Notice of this filing will
be sent by email to all parties by operation of the Court’s electronic filing system or by mail on
anyone unable to receive notice of electronic filing as indicated in the Notice of Electronic
Filing. Parties may access this document through the Court’s CM/ECF System.

                                                     /s/ John J. McGivney
                                                     John J. McGivney




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